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                         UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF CALIFORNIA


UNITED STATES OF AMERICA,                  CASE NO. 09CR1318-JM

                       Plaintiff,
               vs.                         JUDGMENT OF DISMISSAL
                                           (Rule 48, F.R.Crim.P.)
ARWA AHMED UBADI

                       Defendant.


          IT APPEARING that the defendant is now entitled to be discharged
for the reason that:

     an indictment has been filed in another case against the defendant and
     the Court has granted the motion of the Government for dismissal of
     this case, without prejudice;

     the Court has dismissed the case for unnecessary delay; or

X    the Court has granted the motion of the Government for dismissal
     without prejudice; or

     the Court has granted the motion of the defendant for a judgment of
     acquittal; or

     a jury has been waived, and the Court has found the defendant not
     guilty; or

     the jury has returned its verdict, finding the defendant not guilty;

X    of the offense(s) of: as charged in the Information .

          IT IS THEREFORE ADJUDGED that the defendant is hereby discharged
pursuant to Rule 48, Federal Rules of Criminal Procedure.



DATED:   May 7, 2009
                                              RUBEN B. BROOKS
                                              United States Magistrate Judge


                                              ENTERED ON ___________________
